Record of Conference and Orders: Vera M. Scanlon, USMJ Date:_ 2 /17/2016

 

Case: Rosa et al v. Penta Restoration et al.

Civ. A. 15-3286(ILG )(VMS)
ECF Recording in 504N: __ 0 Telephone Conference wis<person Conference

HOS 4°39 6G; Sue BG

Counsel: (See separately docket entry or docuinent for specific appearances)

mcbansel for Plaintiffs) 0 Pro Se Plaintiff(s) 9 Counsel for Defendant(s) 0 Pro Se Defendant(s)
Conference Type:

O Initial Conference o Status Conference Settlement Conference 0 Motion Hearing o Discovery Conference o
OJPTO Conference oo Other

 

Further to the conference, discovery and other scheduling dates are as follows:
(if dates previously set by the Court are not reset, they remain as stated in the previous order.)

G Motions decided on the record

 

 

 

O Rule 26(a) disclosures, incl. supplements

 

© Document requests to be served

 

O Interrogatories to be served

 

co Amended pleadings, incl. joinder O To be served O To be filed

 

o Complaint 0 Answer 0 On consent co By motion o By PMC letter

 

0 Joint status letter o Stip of dismissal to be filed

c Status conference Date: Time:
a In person o Telephone (718) 613-2300 To be organized by:

© Specific depositions to be held

 

 

 

O Fact discovery closes

 

o Expert disclosures to be served

 

0 Initial expert report(s) to be served

 

CO Rebuttal expert report(s) to be served

 

o Expert discovery closes

 

0 All discovery closes
o Joint letter confirming discovery is concluded
o Summary judgment to be initiated a PMC letter o Briefing

 

 

 

O Joint pre-trial order to be filed o Letter for conference 0 Proposed JPTO

 

0 Proposed confidentiality order to be filed

 

© Consent to Magistrate Judge to be filed
0D Settlement Conference Date: Time:

 

 

Page | of 2
Vera M. Scanlon, USMJ
Conference Orders, Continued

Case: Rosa et al v. Penta Restoration et al Civ. A. 15-3286(ILG)(VMS)

Date:_2/17/2016

Additional Orders:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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